      Case 2:23-mc-00111-GJP          Document 2-1      Filed 07/26/23      Page 1 of 11



                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 TAKEDA PHARMACEUTICAL COMPANY
 LIMITED, TAKEDA AMERICAS HOLDINGS,
 INC., TAKEDA PHARMACEUTICALS U.S.A.,
 INC., and TAKEDA DEVELOPMENT
 CENTER AMERICAS, INC.,                             Miscellaneous Case No. 2:23-mc-111

                       Plaintiffs,                  Underlying Action pending in the United
                                                    States District Court for the Southern District
        v.                                          of New York, In re Actos Antitrust Litig.
                                                    (Coordinated Actions), Case No. 1:13-cv-
 CAREMARK RX, LLC,                                  09244-RA-SDA

                       Defendant.



      TAKEDA’S MEMORANDM OF LAW IN SUPPORT OF ITS MOTION
 TO COMPEL CAREMARK RX, LLC TO COMPLY WITH ITS RULE 45 SUBPOENA
                         DUCES TECUM

       Pursuant to Federal Rule of Civil Procedure 45, Plaintiffs, Takeda Pharmaceutical

Company Limited, Takeda Americas Holdings, Inc., Takeda Pharmaceuticals U.S.A., Inc., and

Takeda Development Center Americas, Inc. (collectively, “Takeda”) respectfully request that this

Court issue an Order compelling Defendant Caremark Rx, LLC (“Caremark”) to produce

documents in response to the Subpoena to Produce Documents, Information, or Objects or to

Permit Inspection of Premises in a Civil Action dated March 29, 2022 properly served upon it on

March 30, 2022 (the “Subpoena”).

I.     FACTUAL BACKGROUND

       The Subpoena was served in In re Actos Antitrust Litig. (Coordinated Actions), No. 1:13-

cv-09244-RA-SDA (the “Actions”), which comprises two related, coordinated putative antitrust

class action lawsuits concerning Takeda’s drug ACTOS. The Actions are currently pending in the

United States District Court for the Southern District of New York. See Declaration of Rachel J.

Rodriguez, Esquire (“Rodriguez Decl.”), ¶¶ 3-6.
       Case 2:23-mc-00111-GJP           Document 2-1       Filed 07/26/23      Page 2 of 11



        More than fifteen months ago, Takeda, defendants in the Actions, served the Subpoena on

Caremark, one of the largest pharmacy benefit managers (“PBMs”) and a non-party to the Actions.

In October 2022, Caremark participated briefly in the meet-and-confer process, after which

Caremark’s counsel offered various excuses to avoid scheduling another meet-and-confer, and

then simply stopped responding to Takeda altogether. Caremark has not communicated with

Takeda in nearly six months and, despite failing to serve timely objections—or any objections at

all—it has entirely failed to produce any documents responsive to the Subpoena.

        A.     The Actions

        As relevant to this motion, the Actions concern allegations that Takeda engaged in conduct

that plaintiffs claim delayed competitors from launching a generic version of ACTOS, thereby

causing plaintiffs to purportedly pay higher prices for ACTOS between 2011 and at least 2013.

Id., ¶ 4.

        In the first of the two coordinated Actions, In re Actos End-Payor Antitrust Litig., No. 13-

cv-09244 (S.D.N.Y.), the plaintiffs (“EPP Plaintiffs”) seek to represent a class of indirect

purchasers of brand and generic ACTOS who allege that Takeda’s listing of certain patents in the

FDA’s Orange Book caused them to pay higher prices, in violation of state antitrust laws. Id., ¶

5. In the second of the two Actions, In re Actos Direct Purchaser Antitrust Litig., No. 15-cv-03278

(S.D.N.Y.), the plaintiffs (“DPP Plaintiffs”) seek to represent a putative class of direct purchasers

of brand and generic ACTOS, who claim that they paid higher prices in violation of federal

antitrust laws based on that same alleged conduct. Id., ¶ 6.

        By an agreement between the parties that was approved by the Court, discovery is

coordinated in the Actions. Id., ¶ 3.

        B.     Caremark’s Role As A PBM

        PBMs are third-party companies that, among other things, manage prescription drug


                                                 2
      Case 2:23-mc-00111-GJP            Document 2-1        Filed 07/26/23     Page 3 of 11



benefits on behalf of health insurers, Medicare Part D drug plans, large employers, and other

payers. PBMs negotiate pricing with drug manufacturers, set formularies (lists of approved

medications that a health plan will cover), and process pharmacy claims. As such, PBMs have

significant influence in determining total drug cost for health and benefits plans (such as those

used by the EPP Plaintiffs), the amounts paid primarily to pharmaceutical wholesalers (such as the

DPP Plaintiffs), and even which medications patients are able to access.1

       Caremark possesses information that would allow Takeda to analyze whether the putative

classes are properly defined, determine whether plaintiffs suffered antitrust injury, and assess the

relevant antitrust market. Rodriguez Decl., ¶ 8. For example, the requested data on payments

Caremark made to its customers (e.g., rebates, discounts, pricing guarantees) in connection with

ACTOS or generic ACTOS would enable Takeda to determine the real-world net payments made

by potential third-party payor class members. Id., ¶ 8(a). Likewise, the requested prescription

claims data would enable Takeda to determine whether consumers who paid a flat copay for

ACTOS or generic ACTOS (who are excluded from the EPP Plaintiffs’ putative class) can be

reasonably identified, as well as assess the real-world spending levels of putative class members.

Id., ¶ 8(b). By way of further example, the requested pharmaceutical & therapeutics committee

minutes (“P&T Minutes”) would enable Takeda to determine which products Caremark considered

to be reasonable substitutes for ACTOS, which determination is relevant to whether plaintiffs’

alleged relevant product market is legally cognizable. Id., ¶ 8(c).

       Furthermore, obtaining relevant information from Caremark is especially important




1
        “Pharmacy Benefit Managers and Their Role in Drug Spending,” The Commonwealth
Fund (Apr. 22, 2019), available at
https://www.commonwealthfund.org/publications/explainer/2019/apr/pharmacy-benefit-
managers-and-their-role-drug-spending (last visited July 26, 2023).


                                                  3
      Case 2:23-mc-00111-GJP           Document 2-1        Filed 07/26/23      Page 4 of 11



because of the nature of the PBM industry and Caremark’s role in it.2 During the relevant period,

it was estimated that the two biggest PBMs, Express Scripts (45%) and Caremark (28%),

controlled nearly three-quarters of the PBM market.3 Thus, the information sought from Caremark

is not only relevant, but a significant fraction of all such information that exists can be found in

Caremark’s files.

       C.      Takeda’s Efforts to Enforce the Subpoena

       On March 30, 2022, Takeda’s counsel served the Subpoena on Caremark. Rodriguez Decl.,

Ex. B. The Subpoena contained twenty-three (23) requests for the production of documents, with

the relevant time period for discovery running from January 1, 2009 through December 31, 2015.

See id., Ex. A. Caremark never served objections to the Subpoena.

       When Caremark through its counsel, Richard S. Davis of Foley & Lardner LLP, initially

demonstrated a willingness to participate in the meet-and-confer process, Takeda twice proposed

to narrow the scope of the Subpoena voluntarily and without Caremark demonstrating that

compliance with the Subpoena would cause an undue burden. Id., Exs. D, E, & F. Soon thereafter,

Mr. Davis resorted to offering a myriad of excuses as to why he could not meet and confer, and he

then stopped responding to Takeda entirely.

       In late May to early June 2022, Takeda’s counsel continued to follow up with Mr. Davis

via email regarding compliance with the Subpoena and had one meet-and-confer with him. See

Rodriguez Decl., ¶ 12. On or around June 1, 2022, Mr. Davis informed Takeda’s counsel that he



2
        “Beyond the Big Three PBMs,” Managed Healthcare Executive (Dec. 14, 2022), available
at https://www.managedhealthcareexecutive.com/view/beyond-the-big-three-pbms (noting that in
2021 that Caremark was one of the three largest PBMs in the United States) (last visited July 26,
2023).
3
  Abelson Reed & Natasha Singer, “F.TC. Approves Merger of 2 of the Biggest Pharmacy
Benefit Managers,” N.Y. Times (Apr. 2, 2012), available at
https://www.nytimes.com/2012/04/03/business/ftc-approves-merger-of-express-scripts-and-
medco.html (last visited July 26, 2023).

                                                 4
      Case 2:23-mc-00111-GJP          Document 2-1       Filed 07/26/23     Page 5 of 11



would be willing to share with Caremark a letter from Takeda specifying a limited amount of

documents responsive to the Subpoena along with the specific bases under which Takeda was

requesting these documents. See Rodriguez Decl. ¶ 13.

       On August 25, 2022, despite Caremark’s failure to present evidence of undue burden or

expense, Takeda’s counsel sent an email to Mr. Davis that proposed to further limit the scope of

Takeda’s discovery requests (the “August 25 Letter”) in accordance with Mr. Davis’s request of

June 1, 2022. See Rodriguez Decl., Ex. C at 8 (email) & Ex. D (the August 25 letter). In the

August 25 Letter, Takeda offered to significantly reduce the scope of the Subpoena, which

included decreasing the number of requests for production of documents from 23 requests to 6

categories of documents, or information corresponding to 9 requests. Id. Takeda also reduced the

relevant time period over which documents were requested by four years for 7 of the 9 requests,

and by two years for the remaining 2 requests. Id. Finally, the August 25 Letter outlined the

reasons why each of the remaining categories of requested information are highly relevant to

Takeda’s potential defenses in the Actions. Id.

       On September 7, 2022, Caremark’s counsel, Mr. Davis, responded to the August 25 Letter

via email. See Rodriguez Decl., Ex. C at 7. Mr. Davis indicated that Caremark found even this

significantly reduced version of the requested documents to be “very broad” and requested a meet-

and-confer after September 14, 2022. Id. The following day, Takeda’s counsel and Mr. Davis

exchanged emails agreeing on a September 20, 2022 meet-and-confer, which Mr. Davis later re-

scheduled to September 28, 2022. Id. at 5-7.

       On September 28, 2022, Takeda’s and Caremark’s respective counsel met and conferred.

See Rodriguez Decl., ¶ 19. During this meeting, Takeda’s counsel elaborated on the relevance of

the requested documents and again indicated Takeda’s willingness to further narrow the scope of

the Subpoena, without compromising Takeda’s ability to obtain information that is critical to its


                                                  5
      Case 2:23-mc-00111-GJP           Document 2-1        Filed 07/26/23      Page 6 of 11



defense. Id. Mr. Davis indicated that Caremark generally viewed Takeda’s requests as information

that could be obtained elsewhere, such as from the named EPP or DPP Plaintiffs, and emphasized

in particular Caremark’s reluctance to produce prescription claims data and P&T Minutes. Id. He

stated, however, that he would take all requests back to his client for consideration, and that

Caremark might be willing to produce formularies in lieu of P&T Minutes. Id.

       On October 10, 2022, Takeda sent another letter (the “October 10 Letter”) via email to

Caremark, requesting that it produce documents as required in the Subpoena. See Rodriguez Decl.,

Ex. C at 4-5 (email) & Ex. E (October 10 Letter). This letter proposed to narrow the requests even

further and further limited the relevant time periods. Id. In this letter, Takeda also elaborated on

the reasons why the requested information is relevant to Takeda’s potential defenses in the Actions.

Id.

       On October 21, 2022, Takeda’s counsel sent an email following up on the October 10 Letter

and inquiring about Mr. Davis’ availability for a meet-and-confer in the next week to resolve

existing disputes. See Rodriguez Decl., Ex. C at 4. A week later, on October 28, 2022, Mr. Davis

responded with an apology for the delay, and promised to provide his availability for a meet-and-

confer after he returned to his office on November 7, 2022. See Rodriguez Decl., Ex. C at 4.

       On November 4, 2022, Takeda’s counsel sent another letter via email to Mr. Davis (the

“November 4 Letter”), which corrected a minor error in the October 10 Letter, but was otherwise

identical to it. See Rodriguez Decl., ¶ 22, Ex. C at 3-4 (email) & Ex. F (November 4 Letter).

Caremark’s attorneys did not respond to the November 4 Letter or the email which sent it. See

Rodriguez Decl., ¶ 22 & Ex. C at 3.

       On November 18, 2022, Takeda’s counsel sent a follow-up email asking if there was

anything to discuss in a meet-and-confer before the upcoming Thanksgiving holiday weekend.

Rodriguez Decl., ¶ 24 & Ex. C at 3. Caremark’s attorneys did not respond to this email. Rodriguez


                                                 6
      Case 2:23-mc-00111-GJP           Document 2-1        Filed 07/26/23   Page 7 of 11



Decl., ¶ 24.

       On January 3, 2022, Takeda’s counsel sent Caremark’s attorneys another follow-up email

pointing out that the parties had not had a meet-and-confer since September 2022, and that the

then-discovery deadline in the Actions was soon approaching, and requested that Caremark’s

counsel at least respond to Takeda’s numerous emails. See Rodriguez Decl., Ex. C at 3. More than

a week later, on January 9, 2023, Mr. Davis responded by promising to follow up after reviewing

the November 4 Letter—which at that point he had for more than two months. See id.

       On January 20, 2023, Takeda’s counsel emailed Mr. Davis again, asking for an update on

Caremark’s efforts to comply with the Subpoena. See id. at 2. The email further noted that

Caremark was significantly behind in its compliance compared to other PBMs that Takeda had

subpoenaed in the Actions—which by then had all agreed in principle to produce, among other

things, reasonably accessible prescription claims data. See id.

       On January 27, 2023, Mr. Davis responded to Takeda’s counsel’s email of January 20,

2023, stating that one of his partners would be joining him on the next call to discuss matters

addressed in the November 4 Letter and that he would follow up with proposed dates and times

for such a discussion. See id. To date, neither Mr. Davis nor anyone else on behalf of Caremark

has responded to further communications from Takeda. Rodriguez Decl., ¶ 25.

       On February 3, 2023, Takeda’s counsel sent Mr. Davis a follow-up email to see if he had

checked with his colleague about times for a meet-and-confer. Id. Caremark’s attorneys failed to

respond. See Rodriguez Decl., ¶ 26 & Ex. C at 1-2. On February 15, 2023, Takeda’s counsel sent

Mr. Davis and his colleagues another follow-up email asking whether Caremark’s attorneys

intended to participate in the meet-and-confer process and pointing out that Takeda’s attorneys

had been attempting to schedule a meeting with them since October 2022. See Rodriguez Decl.,

Ex. C at 1. Takeda’s counsel advised that Takeda was prepared to enforce its rights with respect


                                                 7
        Case 2:23-mc-00111-GJP         Document 2-1       Filed 07/26/23      Page 8 of 11



to the Subpoena by motion practice if necessary. Rodriguez Decl., ¶ 27 & Ex. C at 1.

        On May 3, 2023, Takeda’s counsel sent Mr. Davis and his colleagues yet another follow-

up email that pointed out that counsel had ample time to review the October 10 and November 4

Letters, requested that they advise Takeda about their availability for a meet-and-confer, and

advised that if Takeda did not hear from Caremark by May 10, 2023, it would assume Caremark’s

silence indicated that the parties are at impasse. See Rodriguez Decl., ¶ 28 & Ex. C at 1. To date,

Caremark’s attorneys have never sent a response to this email. Rodriguez Decl., ¶ 28. Nor has

Caremark produced a single document responsive to the Subpoena or committed to doing so. Id.,

¶ 29.

II.     LEGAL ARGUMENT

        A subpoena served under Federal Rule of Civil Procedure Rule 45 must fall within the

scope of proper discovery under Rule 26(b)(1). Green v. Cosby, 314 F.R.D. 164, 169 (E.D. Pa.

2016). Pursuant to Rule 26(b)(1), generally “[p]arties may obtain discovery regarding any

nonprivileged matter that is relevant to any party’s claim or defense and proportional to the needs

of the case . . .” “Relevance in this context has been ‘construed broadly to encompass any matter

that could bear on, or that could reasonably lead to other matter that could bear on any issue that

is or may be in the case.’” United States ex rel. Bergman v. Abbott Labs., No. 09-cv-4264, 2016

WL 4247429, at *2 (E.D. Pa. Aug. 11, 2016) (quoting Oppenheimer Funds v. Sanders, 437 U.S.

340, 351 (1978)); see also Hicks v. Big Brothers/Big Sisters of America, 168 F.R.D. 528, 529 (E.D.

Pa. 1996).

        Under Fed. R. Civ. P. 45(d)(2)(B), the subpoenaed party has 14 days to object to the

subpoena after service has been executed, and the failure to timely object constitutes a waiver of

the responding party’s objections, especially if those objections are based on relevance or undue

burden. Northfleet Corp. v. Consolidated Rail Corp., No. 83-cv-2992, 1984 WL 2615, at *2 (E.D.


                                                8
      Case 2:23-mc-00111-GJP             Document 2-1         Filed 07/26/23       Page 9 of 11



Pa. Apr. 27, 1984); see also, e.g., Boselli v. Se. Penn. Transp. Auth., 108 F.R.D. 723, 726 (E.D.

Pa. 1985) (“The principle that the failure to timely object to a discovery request constitutes a

waiver of the objection has been applied with particular regularity when the objections relate solely

to the relevance or burdensomeness of the discovery request.”). Thus, by failing to serve written

objections to the Subpoena, Caremark has waived all objections, including as to relevance or undue

burden.

        In any event, the discovery sought here by Takeda is highly relevant to issues relating to

class certification. The putative plaintiff classes in the Actions seek class certification pursuant to

Rule 23(b)(3), which requires as a prerequisite “a determination that common questions of fact or

law predominate over questions affecting only individual members.” See In re Fine Paper

Antitrust Litig., 685 F.2d 810, 822 (3d Cir. 1982); see also In re Mushroom Direct Purchaser

Antitrust Litig., 319 F.R.D. 158, 187-88 (E.D. Pa. 2016).            Given that Rule 23(b)(3) is an

“adventuresome innovation” designed to weed out “situations in which class treatment is not

clearly called for,” the court ruling on class certification has a duty to take a “close look” at whether

common questions predominate over individual ones. See Comcast Corp. v. Behrend, 569 U.S. 27,

34 (2013) (internal quotations and citations omitted).

        The requests made in Takeda’s Subpoena—and certainly the modified requests proposed

in the August 25 Letter and November 4 Letter—are narrowly tailored to allow Takeda to obtain

the information necessary to oppose plaintiffs’ forthcoming motions for class certification. The

requests seek information bearing on whether the plaintiff classes are ascertainable and whether

plaintiffs can demonstrate antitrust injury and damages through common evidence. See Rodriguez

Decl., Ex. F at 2. The fact that each of the other PBMs subpoenaed by Takeda, including Express

Scripts—the largest PBM during the relevant time period—have already produced documents and

data in response to substantively identical subpoenas confirms that the requests directed to


                                                   9
     Case 2:23-mc-00111-GJP           Document 2-1        Filed 07/26/23      Page 10 of 11



Caremark seek relevant and discoverable information. See Rodriguez Decl., ¶ 30.

       Moreover, in the fifteen months since the Subpoena was served, Caremark has failed to

present any evidence demonstrating that Takeda’s requested discovery would impose an undue

burden or expense on Caremark. See Burgess v. Galloway, et al., No. 20-cv-06744, 2021 WL

2661290, at *3 (D. N.J. Jan. 28, 2021) (explaining that a subpoena is considered unduly

burdensome when the Court finds that it is “unreasonable or oppressive”). Pursuant to Federal

Rule of Civil Procedure 45(d)(3)(A)(iv), an “undue burden” consists of a “clearly defined and

serious injury” to the subpoenaed party. See FED. R. CIV. P. 45(d)(3)(A)(iv); see also Cty. of St.

Petersburg v. Total Containment, Inc., No. 06-cv-20953, 2008 WL 1995298, at *2 (E.D. Pa. May

5, 2008) (citing Transcor, Inc. v. Furney Charters, Inc., 212 F.R.D. 588, 592-93 (D. Kan. 2003))

(noting that general assertions of competitive disadvantage are insufficient to establish an undue

burden).4 Here, Caremark has not furnished any evidence to show that compliance with the

Subpoena would impose an undue burden on Caremark. When Mr. Davis actually responded to

emails from Takeda’s counsel, he simply claimed that the Subpoena was “very broad,” and offered

nothing further. See Rodriguez Decl., Ex. C at 3. This bald assertion fails to satisfy Rule 45’s

definition of an undue burden. Caremark should be compelled to comply with Takeda’s Subpoena.

       In short, the Federal Rules of Civil Procedure provide that a party has 14 days to select one

of three options in response to a valid subpoena—comply with the discovery requests, respond

with formal written objections, or move to quash the subpoena. Ninaltowski v. Moore, No. 20-cv-

01808, 2021 WL 3051932, at *1 (E.D. Pa. July 20, 2021); see also FED. R. CIV. P. 45(d). Caremark

chose to do none of the three. Instead, after initially participating in meet-and-confers about the




4
       At the time the Cty. of St. Petersburg opinion, this section was known as Rule
45(c)(3)(A)(iv).


                                                10
        Case 2:23-mc-00111-GJP            Document 2-1    Filed 07/26/23       Page 11 of 11



Subpoena, Caremark avoided Takeda’s counsel at all costs.5 “[I]gnoring the subpoena entirely”

is not a valid response. Ninaltowski, 2021 WL 3051932, at *1 (emphasis added). An order

compelling Caremark to comply with the Subpoena is therefore warranted.

III.      CONCLUSION

          For the foregoing reasons, Takeda respectfully submits that this Court should grant its

Motion to Compel Caremark’s compliance with the Subpoena in its entirety.



    Dated: July 26, 2023                           LAW OFFICES OF STUART J. GUBER

                                                     /s/ Stuart J. Guber
    Of Counsel:                                    Stuart J. Guber
                                                   150 Sawgrass Drive
    ELLIOTT KWOK LEVINE &                          Blue Bell, PA 19422
    JAROSLAW LLP                                   (215) 834-4254
                                                   guberlaw@gmail.com
    Mark M. Elliott (pro hac vice pending)
    Rachel J. Rodriguez (pro hac vice pending)     Attorneys for Plaintiffs Takeda Pharmaceutical
    565 Fifth Avenue, 7th Floor                    Company Limited, Takeda Americas Holdings,
    New York, NY 10017                             Inc., Takeda Pharmaceuticals U.S.A. Inc., and
    (212) 321-0510                                 Takeda Development Center Americas, Inc.
    melliott@ekljlaw.com
    rrodriguez@ekljlaw.com




5
       To the extent that Caremark has asserted a position at all, it appears to be limited to the
inaccurate belief that Takeda can obtain the requested information elsewhere, such as from the
named EPP or DPP Plaintiffs. As noted, Caremark was the second largest PBM during the relevant
time period, making it the best and most accurate source of discoverable information. The limited
amounts of information held by the named Plaintiffs is not a substitute and is not sufficient to
permit Takeda to fully oppose plaintiffs’ motions for class certification.

                                                 11
